 Case 19-23079-JAD Doc 89 Filed 06/22/20 Entered 06/22/20 16:38:44 Desc Main
                 IN THE UNITED STATESPage
                           Document    BANKRUPTCY
                                          1 of 63    COURT
           FOR THE WESTERN DISTRICT OF PENNSYLVANIA (Pittsburgh)
IN RE:
ANGELA M SIMONE                                                BK. No. 19-23079-JAD
AKA ANGELA MAMMARELLI SIMONE
                                                         :
DBA VICTOR VICTORIA HAIR. ETC.                                 Chapter No. 13
                                                         :
                      Debtor
                                                         :
                                                         :
JPMORGAN CHASE BANK, NATIONAL
                                                         :
ASSOCIATION                                                    Related Document: Claim #11-2
                                                         :
                      Movant
                                                         :
                v.
                                                         :
ANGELA M SIMONE
                                                         :
AKA ANGELA MAMMARELLI SIMONE
                                                         :
DBA VICTOR VICTORIA HAIR. ETC.
                      Respondent


                  REQUEST TO RESTRICT PUBLIC ACCESS TO CLAIM

          Pursuant to W.PA.LBR 9037-1 and understanding that the redaction of any information
  other than the identifiers specifically enumerated in Fed. R. Bankr. P. 9037 requires a separate
  motion and Court approval, under penalty of perjury, the UNDERSIGNED HEREBY
  CERTIFIES that:

                 1.    JPMORGAN CHASE BANK, NATIONAL ASSOCIATION filed an
         amended proof of claim, Amended Claim No. 11-2 in the above-captioned case on May
         15, 2020 which contains one or more of the identifiers on page 10 of the Amended Claim
         No. 11-2 which included the loan number and missing swirl/upper part of Note that was
         cut off enumerated in Fed. R. Bankr. P. 9037.

                 2.      On June 4, 2020, JPMORGAN CHASE BANK, NATIONAL
         ASSOCIATION filed an amended claim on the claims register in compliance with
         W.PA.LBR 3002-2(a), a copy of which is attached hereto, and corrections were made to
         the original along with the redaction of personal identifiers and complete Note.

                 3.     I am requesting that the Court take whatever steps are necessary to restrict
         public access to the unredacted claim.

  Dated: June 17, 2020                        Respectfully submitted,

                                              Phelan Hallinan Diamond & Jones, LLP

                                              /s/ Jerome Blank, Esquire
                                              Jerome Blank, Esq., Id. No.49736
                                              Omni William Penn Office Tower
                                              555 Grant Street, Suite 300
                                              Pittsburgh, PA 15219
                                              Phone Number: 215-563-7000 Ext 31625
                                              Fax Number: 215-568-7616
                                              Email: jerome.blank@phelanhallinan.com

  PAWB Local Form 37 (07/13)
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Fill in this information to identify the case
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Debtor 1 :                                      Angela M Simone


Debtor 2 :
(Spouse, if filing)



United States Bankruptcy Court for the:         WESTERN                        District of:           PENNSYLVANIA

Case number:                                    19-23079-JAD



Official Form 410
Proof of Claim                                                                                                                                                                             4/19


Read the instructions before filling out this form. Use this form to make a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.


Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted
copies of any documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts,
contracts, judgments, mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents
are not available, explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.


Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


Part 1:         Identify the Claim


       1.       Who is the current
                creditor?                                  JPMorgan Chase Bank, National Association
                                                            Name of the current creditor (the person or entity to be paid for this claim)

                                                           Other names the creditor used with the debtor



       2.       Has this claim been               X               No.
                acquired from
                someone else?                                     Yes.      From Whom?


       3.       Where should notices                       Where should notices to the creditor be sent?                         Where should payments to the creditor be sent? (if different)
                and payments to the
                Creditor be sent?
                                                           Chase Records Center                                                  JPMorgan Chase Bank, N.A.
                Federal Rule of                            Name                                                                  Name
                Bankruptcy Procedure
                (FRBP) 2002(g)
                                                           Attn: Correspondence Mail
                                                           Mail Code LA4-5555                                                    Mail Code: OH4-7142

                                                           700 Kansas Lane                                                       3415 Vision Drive
                                                           Number              Street                                            Number          Street

                                                           Monroe               LA                    71203                      Columbus        OH                  43219
                                                           City                State                  Zip Code                   City            State               Zip Code



                                                           Contact phone       1-866-243-5851                                    Contact phone   1-866-243-5851
                                                           Contact email                                                         Contact email


                                                           Uniform claim identifier for electronic payments in chapter 13 (if you use one):




       4.       Does this claim amend                             No.
                one already filed?
                                                      x           Yes.      Claim number on court claims registry (if known)                     11                             Filed on    10/24/2019
                                                                                                                                                                                           mm / dd / yy


       5.       Do you know if anyone             X               No.
                else has filed a proof
                of claim for this claim?                          Yes.      Who made the earlier filing?




      Official Form 410                                                           Proof of Claim                                                                   page 1




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Debtor Name                                 Angela M Simone                                                                Case Number (if known)                  19-23079-JAD




Part 2:       Give Information About the Claim as of the Date the Case Was Filed


          6   Do you have any number
              you use to identify the               No.
              debtor?
                                                X   Yes.         Last 4 digits of the debtor's account or any number you use to identify the debtor:                                   9813


      7.      How much is the claim?        $       507,597.85                                                    Does this amount include interest or other charges?

                                                                                                                     No.

                                                                                                                  X Yes, Attach statement itemizing interest, fees, expenses, or other
                                                                                                                         charges required by Bankruptcy Rule 3001(C)(2)(A)


      8.      What is the basis of the              Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
              claim?                                Attach any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                                    Limit disclosing information that is entitled to privacy, such as healthcare information.

                                                    Money Loaned


      9.      Is all or part of the claim
              secured?                              No.

                                                X   Yes.         The claim is secured by a lien on property.
                                                                 Nature of property

                                                                 X Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of
                                                                   Claim Attachment (Official Form 410-A) with this Proof of Claim.


                                                                    Motor vehicle


                                                                     Other. Describe:



                                                                 Basis for perfection:                               Recorded Security Instrument
                                                                 Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                                                 example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                                                 been filed or recorded.)


                                                                 Value of Property:                                                  $

                                                                 Amount of the claim that is secured:                                $ 507,597.85

                                                                 Amount of the claim that is unsecured:                              $                             (The sum of secured and unsecured
                                                                                                                                                                   amounts should match the amount in line 7.)



                                                                 Amount necessary to cure any default as of the date of the petition:                               $     89,273.74




                                                                 Amount Interest Rate (When case was filed):                                          3.0000%
                                                                 X Fixed

                                                                    Variable




    10.       Is this claim based on a
              lease?                            X   No.

                                                    Yes. Amount necessary to cure any default as of the date of the petition.                                       $              -


    11.       Is this claim subject to a
              right of setoff?                  X   No.

                                                    Yes. Identify the property:




   Official Form 410                                                   Proof of Claim                                                                           page 2




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Debtor Name                                   Angela M Simone                                                                        Case Number (if known)             19-23079-JAD




       12.      Is all or part of the claim      X       No
                entitled to priority under
                11 U.S.C. § 507(a).                      Yes. Check that all apply.                                                                                            Amount entitled to priority

                A claim may be partly                    Domestic support obligations (including alimony and child support) under                                               $
                priority and partly                      11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
                nonpriority. For example,
                in some categories, the                  Up to $3,025* of deposits toward purchase, lease, or rental of property                                                $
                law limits the amount                    or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).
                entitled to priority.
                                                         Wages, salaries, or commissions (up to $13,650*) earned within 180 days before                                         $
                                                         the bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.
                                                         11 U.S.C. § 507(a)(4).

                                                         Taxes or penalties owed to governmental units.                                                                         $

                                                         Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).

                                                         Other. Specify subsection of 11 U.S.C. § 507(a)(               ) that applies.                                         $


                                                      * Amounts are subject to adjustment on 4/1/22 and every 3 years after that for cases begun on or after the date of adjustment.




Part 3:         Sign Below



The person completing                         Check the appropriate boxes:
this proof of claim must
sign and date it.                                        I am the creditor.
FRBP 9011(b).
                                                X         I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.                                           I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
A person who files a
fraudulent claim could be                     I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
fined up to $500,000,                         and correct.
imprisoned for up to 5
years, or both.
18 U.S.C. §§ 152, 157 and                     I declare under penalty of perjury that the foregoing is true and correct.
3571.
                                              Executed on date              06/04/2020
                                                                             MM/ DD / YYYY


                                              /s/Jerome Blank
                                                         Signature

                                              Print the name of the person who is completing and signing this claim:

                                              Name                       Jerome Blank, Esquire
                                                                         First Name               Middle Name                Last Name


                                              Title                      Attorney
                                              Company                    Phelan Hallinan Diamond & Jones , PC
                                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.


                                              Address                    1617 JFK Boulevard, Suite 1400
                                                                         Number                   Street


                                                                         Philadelphia, PA 19103
                                                                         City                                                State             Zip Code


                                              Contact Phone                 856-813-5500                                     Email             jerome.blank@phelanhallinan.com




      Official Form 410                                                      Proof of Claim                                                                           page 3




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Mortgage Proof of Claim Attachment                                                                                                                                                                                                                                                                                                      04/16


Mortgage Proof of Claim Attachment
If you file a claim secured by a security interest in the debtor's principal residence, you must use this form as an attachment to your proof of claim. See separate instructions.

Part 1: Mortgage and Case Information                                                                            Part 2: Total Debt Calculation                                                 Part 3: Arrearage as of Date of the Petition                                           Part 4: Monthly Mortgage Payment
Case number:        19-23079-JAD                                                                                 Principal Balance:                               $446,752.25                   Principal & interest due:                                   $39,086.64                 Principal & interest:                   $1,628.61
Debtor 1:           Angela M Simone                                                                              Deferred Balance:                                      $0.00                   Prepetition fees due:                                        $5,322.71                 Monthly escrow:                         $1,596.69
Debtor 2:                                                                                                        Interest due:                                     $26,871.72                   Escrow deficiency for funds advanced:                       $28,651.17                 Private mortgage insurance:                 $0.00
Last 4 digits to identify:        9813                                                                                                                                                          Projected escrow shortage:                                  $16,213.22
Creditor:           JPMorgan Chase Bank, National Association                                                    Fees, costs due:                                   $5,322.71                   Less funds on hand:                                  -           $0.00                 Total monthly payment:                  $3,225.30
Servicer:                         JPMorgan Chase Bank, N.A.                                                      Escrow deficiency for funds                       $28,651.17                   Amount waived post-petition                          -
Fixed accrual/daily                                                                                              Less total funds on hand:               -              $0.00                   Amount per Court Order                               -
simple interest/other:            Fixed                                                                          Total debt:                                      $507,597.85                   Total prepetition arrearage:                                $89,273.74
                                                                                                                                                                                                Post-petition payments included by
                                                                                                                                                                                                debtor or court in Total Arrearage:                 +            $0.00
Case Number:      19-23079-JAD                                                                                                                                                                  Total Arrearage                                             $89,273.74
Debtor 1:         Angela M Simone

Part 5 : Loan Payment History from First Date of Default
                                                Account Activity                                                                                  How Funds Were Applied/Amount Incurred                                                              Balance After Amount
                                                                                                                                                                                                                                                                    BalanceReceived or Incurred
                                                                                                                                                                                                                                                                            After Amount Received or Incurred
A.               B.             C.              D.               E.                                              F.              G.               H.              I.                 J.                             K.                L.               M.                N.                 O.                P.            Q.
Date             Contractual    Funds           Amount Incurred Description                                      Contractual Due Prin, int & esc  Amount to       Amount to         Amount to                      Amount             Unapplied funds Principal balance Accrued interest Escrow balance Fees / Charges      Unapplied
                 Payment        Received                                                                         Date            past due balance principal       interest          escrow                         to fees or                                            balance                              balance       funds
                 Amount                                                                                                                                                                                            charges                                                                                                  balance

                                                                                                                                                 $0.00                                                                                                     $444,255.83                       ($5,548.76)            $0.00       $585.01
11/01/2016        $3,076.79                                              PAYMENT DUE                                                         $3,076.79                                                                                                     $444,255.83                       ($5,548.76)            $0.00       $585.01
11/01/2016                                           $9,354.81           MOD ADJUSTMENT FEES                                                 $3,076.79                                                                                                     $444,255.83                       ($5,548.76)        $9,354.81       $585.01
11/03/2016                                                               PRINCIPAL AND INTEREST                                                              $(10,684.35)
                                                                         ADJUSTMENT                                                          $3,076.79                                                                                                     $454,940.18                       ($5,548.76)        $9,354.81       $585.01
11/03/2016                                                               PAYMENT ADVANCE                                                     $3,076.79                                                                                $(42.00)             $454,940.18                       ($5,548.76)        $9,354.81       $543.01
11/03/2016                                                               PAYMENT ADVANCE                                                     $3,076.79                                          $5.80                                                      $454,940.18                       ($5,542.96)        $9,354.81       $543.01
11/03/2016                                                               PAYMENT ADVANCE                                                     $3,076.79                                          $999.99                                                    $454,940.18                       ($4,542.97)        $9,354.81       $543.01
11/03/2016                                                               PAYMENT ADVANCE                                                     $3,076.79                                          $999.99                                                    $454,940.18                       ($3,542.98)        $9,354.81       $543.01
11/03/2016                                                               PAYMENT ADVANCE                                                     $3,076.79                                          $999.99                                                    $454,940.18                       ($2,542.99)        $9,354.81       $543.01
11/03/2016                                                               PAYMENT ADVANCE                                                     $3,076.79                                          $999.99                                                    $454,940.18                       ($1,543.00)        $9,354.81       $543.01
11/03/2016                                                               PAYMENT ADVANCE                                                     $3,076.79                                          $999.99                                                    $454,940.18                         ($543.01)        $9,354.81       $543.01
11/03/2016                                                               PAYMENT APPLIED                                                     $3,076.79                                          $543.01                               $(543.01)            $454,940.18                            $0.00         $9,354.81         $0.00
11/07/2016                                           $(9,304.81)         LATE CHARGE - WAIVED                                                $3,076.79                                                                                                     $454,940.18                            $0.00            $50.00         $0.00
11/07/2016                                           $(50.00)            NSF FEE - WAIVED                                                    $3,076.79                                                                                                     $454,940.18                            $0.00             $0.00         $0.00
11/16/2016                                           $81.43              LATE CHARGE - ASSESSED                                              $3,076.79                                                                                                     $454,940.18                            $0.00            $81.43         $0.00
11/30/2016                         $3,076.79                             PAYMENT TO SUSPENSE                                                 $3,076.79                                                                                $3,076.79            $454,940.18                            $0.00            $81.43     $3,076.79
11/30/2016                                                               PAYMENT APPLIED                         11/01/2016                      $0.00       $491.26            $1,137.35       $1,448.18                             $(3,076.79)          $454,448.92                        $1,448.18            $81.43         $0.00
12/01/2016        $3,051.27                                              PAYMENT DUE                                                         $3,051.27                                                                                                     $454,448.92                        $1,448.18            $81.43         $0.00
12/16/2016                                           $81.43              LATE CHARGE - ASSESSED                                              $3,051.27                                                                                                     $454,448.92                        $1,448.18           $162.86         $0.00
01/01/2017        $3,076.79                                              PAYMENT DUE                                                         $6,128.06                                                                                                     $454,448.92                        $1,448.18           $162.86         $0.00
01/06/2017                                                               HOMEOWNERS INSURANCE                                                $6,128.06                                          $(2,494.12)                                                $454,448.92                       ($1,045.94)          $162.86         $0.00
01/17/2017                                           $81.43              LATE CHARGE - ASSESSED                                              $6,128.06                                                                                                     $454,448.92                       ($1,045.94)          $244.29         $0.00
02/01/2017        $3,102.31                                              PAYMENT DUE                                                         $9,230.37                                                                                                     $454,448.92                       ($1,045.94)          $244.29         $0.00
02/16/2017                                           $81.43              LATE CHARGE - ASSESSED                                              $9,230.37                                                                                                     $454,448.92                       ($1,045.94)          $325.72         $0.00
02/24/2017                                                               COUNTY TAX                                                          $9,230.37                                          $(2,947.18)                                                $454,448.92                       ($3,993.12)          $325.72         $0.00
03/01/2017        $3,102.31                                              PAYMENT DUE                                                        $12,332.68                                                                                                     $454,448.92                       ($3,993.12)          $325.72         $0.00
03/16/2017                                           $81.43              LATE CHARGE - ASSESSED                                             $12,332.68                                                                                                     $454,448.92                       ($3,993.12)          $407.15         $0.00
03/31/2017                         $3,076.79                             PAYMENT APPLIED                         12/01/2016                  $9,255.89       $492.49            $1,136.12       $1,448.18                                                  $453,956.43                       ($2,544.94)          $407.15         $0.00
04/01/2017        $3,102.31                                              PAYMENT DUE                                                        $12,358.20                                                                                                     $453,956.43                       ($2,544.94)          $407.15         $0.00
04/11/2017                         $(3,076.79)                           RETURNED ITEM                           12/01/2016                 $15,434.99       $(492.49)          $(1,136.12)     $(1,448.18)                                                $454,448.92                       ($3,993.12)          $407.15         $0.00
04/17/2017                                           $81.43              LATE CHARGE - ASSESSED                                             $15,434.99                                                                                                     $454,448.92                       ($3,993.12)          $488.58         $0.00
04/21/2017                         $3,076.79                             PAYMENT APPLIED                         12/01/2016                 $12,358.20       $492.49            $1,136.12       $1,448.18                                                  $453,956.43                       ($2,544.94)          $488.58         $0.00
04/29/2017                         $3,076.79                             PAYMENT TO SUSPENSE                                                $12,358.20                                                                                $3,076.79            $453,956.43                       ($2,544.94)          $488.58     $3,076.79
04/29/2017                                                               PAYMENT APPLIED                         01/01/2017                  $9,281.41       $493.72            $1,134.89       $1,448.18                             $(3,076.79)          $453,462.71                       ($1,096.76)          $488.58         $0.00
05/01/2017        $3,102.31                                              PAYMENT DUE                                                        $12,383.72                                                                                                     $453,462.71                       ($1,096.76)          $488.58         $0.00
05/09/2017                         $(3,076.79)                           RETURNED ITEM                           01/01/2017                 $15,460.51       $(493.72)          $(1,134.89)     $(1,448.18)                                                $453,956.43                       ($2,544.94)          $488.58         $0.00
05/16/2017                                           $81.43              LATE CHARGE - ASSESSED                                             $15,460.51                                                                                                     $453,956.43                       ($2,544.94)          $570.01         $0.00
05/31/2017                         $3,102.31                             PAYMENT APPLIED                         01/01/2017                 $12,383.72       $493.72            $1,134.89       $1,448.18                             $25.52               $453,462.71                       ($1,096.76)          $570.01        $25.52
06/01/2017        $3,102.31                                              PAYMENT DUE                                                        $15,486.03                                                                                                     $453,462.71                       ($1,096.76)          $570.01        $25.52
06/01/2017                                                               MISAPPLICATION REVERSAL                                            $15,486.03                                                                                $(25.52)             $453,462.71                       ($1,096.76)          $570.01         $0.00
06/09/2017                                                               MISAPPLICATION REVERSAL                 01/01/2017                 $18,562.82       $(493.72)          $(1,134.89)     $(1,448.18)                           $3,076.79            $453,956.43                       ($2,544.94)          $570.01     $3,076.79
06/09/2017                                                               MISAPPLICATION REVERSAL                 12/01/2016                 $21,639.61       $(492.49)          $(1,136.12)     $(1,448.18)                           $3,076.79            $454,448.92                       ($3,993.12)          $570.01     $6,153.58
06/09/2017                         $(3,102.31)                           RETURNED ITEM                                                      $21,639.61                                                                                $(3,102.31)          $454,448.92                       ($3,993.12)          $570.01     $3,051.27
07/01/2017        $3,102.31                                              PAYMENT DUE                                                        $24,741.92                                                                                                     $454,448.92                       ($3,993.12)          $570.01     $3,051.27
07/18/2017                                                               PAYMENT APPLIED                         12/01/2016                 $21,690.65       $492.49            $1,136.12       $1,422.66                             $(3,051.27)          $453,956.43                       ($2,570.46)          $570.01         $0.00
08/01/2017        $3,102.31                                              PAYMENT DUE                                                        $24,792.96                                                                                                     $453,956.43                       ($2,570.46)          $570.01         $0.00
08/16/2017                                                               SCHOOL TAX                                                         $24,792.96                                          $(10,539.76)                                               $453,956.43                      ($13,110.22)          $570.01         $0.00
08/21/2017                                                               TOWNSHIP TAX                                                       $24,792.96                                          $(2,005.46)                                                $453,956.43                      ($15,115.68)          $570.01         $0.00
09/01/2017        $3,102.31                                              PAYMENT DUE                                                        $27,895.27                                                                                                     $453,956.43                      ($15,115.68)          $570.01         $0.00
10/01/2017        $3,102.31                                              PAYMENT DUE                                                        $30,997.58                                                                                                     $453,956.43                      ($15,115.68)          $570.01         $0.00
11/01/2017        $3,194.19                                              PAYMENT DUE                                                        $34,191.77                                                                                                     $453,956.43                      ($15,115.68)          $570.01         $0.00
11/16/2017                                                               HOMEOWNERS INSURANCE                                               $34,191.77                                          $(2,352.72)                                                $453,956.43                      ($17,468.40)          $570.01         $0.00
12/01/2017        $3,194.19                                              PAYMENT DUE                                                        $37,385.96                                                                                                     $453,956.43                      ($17,468.40)          $570.01         $0.00
12/04/2017                                                               ONE TIME TAX PAYMENT                                               $37,385.96                                          $(2,226.33)                                                $453,956.43                      ($19,694.73)          $570.01         $0.00
12/15/2017                         $3,076.79                             PAYMENT APPLIED                         01/01/2017                 $34,309.17       $493.72            $1,134.89       $1,448.18                                                  $453,462.71                      ($18,246.55)          $570.01         $0.00


Official Form 410A                                                                                                                                             Mortgage Proof of Claim Attachment




                                                                                                                                                                                                                                       Reviewer ID: Lashina_Johnson_2019-10-21_10:15:41
                                                           Case 19-23079-JAD  Doc 89 Filed
                                                                       Case 19-23079-JAD   06/22/20
                                                                                         Claim       Entered
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Mortgage Proof of Claim Attachment                                                                                                                                                                                                                                                           04/16


Part 5 : Loan Payment History from First Date of Default
                                                Account Activity                                                            How Funds Were Applied/Amount Incurred                                           Balance After Amount
                                                                                                                                                                                                                           BalanceReceived or Incurred
                                                                                                                                                                                                                                   After Amount Received or Incurred
A.               B.             C.              D.               E.                        F.              G.               H.              I.                 J.                K.          L.               M.                N.                 O.                P.          Q.
Date             Contractual    Funds           Amount Incurred Description                Contractual Due Prin, int & esc  Amount to       Amount to         Amount to         Amount       Unapplied funds Principal balance Accrued interest Escrow balance Fees / Charges    Unapplied
                 Payment        Received                                                   Date            past due balance principal       interest          escrow            to fees or                                      balance                              balance     funds
                 Amount                                                                                                                                                         charges                                                                                          balance

12/15/2017                      $21,716.17                     PAYMENT APPLIED             02/01/2017            $31,206.86   $494.95          $1,133.66         $1,473.70                                        $452,967.76                      ($16,772.85)        $570.01         $0.00
12/15/2017                                                     PAYMENT APPLIED             03/01/2017            $28,104.55   $496.19          $1,132.42         $1,473.70                                        $452,471.57                      ($15,299.15)        $570.01         $0.00
12/15/2017                                                     PAYMENT APPLIED             04/01/2017            $25,002.24   $497.43          $1,131.18         $1,473.70                                        $451,974.14                      ($13,825.45)        $570.01         $0.00
12/15/2017                                                     PAYMENT APPLIED             05/01/2017            $21,899.93   $498.67          $1,129.94         $1,473.70                                        $451,475.47                      ($12,351.75)        $570.01         $0.00
12/15/2017                                                     PAYMENT APPLIED             06/01/2017            $18,797.62   $499.92          $1,128.69         $1,473.70                                        $450,975.55                      ($10,878.05)        $570.01         $0.00
12/15/2017                                                     PAYMENT APPLIED             07/01/2017            $15,695.31   $501.17          $1,127.44         $1,473.70                                        $450,474.38                       ($9,404.35)        $570.01         $0.00
12/15/2017                                                     PAYMENT APPLIED             08/01/2017            $12,593.00   $502.42          $1,126.19         $1,473.70                                        $449,971.96                       ($7,930.65)        $570.01         $0.00
12/15/2017                      $2,898.15                      PAYMENT TO SUSPENSE                               $12,593.00                                                                  $2,898.15            $449,971.96                       ($7,930.65)        $570.01     $2,898.15
01/01/2018       $3,194.19                                     PAYMENT DUE                                       $15,787.19                                                                                       $449,971.96                       ($7,930.65)        $570.01     $2,898.15
01/11/2018                      $25.52                         PAYMENT TO SUSPENSE                               $15,787.19                                                                  $25.52               $449,971.96                       ($7,930.65)        $570.01     $2,923.67
02/01/2018       $3,194.19                                     PAYMENT DUE                                       $18,981.38                                                                                       $449,971.96                       ($7,930.65)        $570.01     $2,923.67
02/21/2018                                                     SPECIAL ESCROW DEPOSIT                            $18,981.38                                      $450.00                                          $449,971.96                       ($7,480.65)        $570.01     $2,923.67
02/26/2018                                                     COUNTY TAX                                        $18,981.38                                      $(2,947.18)                                      $449,971.96                      ($10,427.83)        $570.01     $2,923.67
03/01/2018       $3,194.19                                     PAYMENT DUE                                       $22,175.57                                                                                       $449,971.96                      ($10,427.83)        $570.01     $2,923.67
04/01/2018       $3,194.19                                     PAYMENT DUE                                       $25,369.76                                                                                       $449,971.96                      ($10,427.83)        $570.01     $2,923.67
04/04/2018                                    $(570.01)        LATE CHARGE - WAIVED                              $25,369.76                                                                                       $449,971.96                      ($10,427.83)          $0.00     $2,923.67
05/01/2018       $3,194.19                                     PAYMENT DUE                                       $28,563.95                                                                                       $449,971.96                      ($10,427.83)          $0.00     $2,923.67
05/24/2018                                    $325.00          TITLE FEES                                        $28,563.95                                                                                       $449,971.96                      ($10,427.83)        $325.00     $2,923.67
06/01/2018       $3,194.19                                     PAYMENT DUE                                       $31,758.14                                                                                       $449,971.96                      ($10,427.83)        $325.00     $2,923.67
06/07/2018                                                     PAYMENT ADVANCE REPAYMENT                                                                                                     $296.04
                                                                                                                 $31,758.14                                                                                       $449,971.96                      ($10,427.83)        $325.00     $3,219.71
07/01/2018       $3,194.19                                     PAYMENT DUE                                       $34,952.33                                                                                       $449,971.96                      ($10,427.83)        $325.00     $3,219.71
08/01/2018       $3,194.19                                     PAYMENT DUE                                       $38,146.52                                                                                       $449,971.96                      ($10,427.83)        $325.00     $3,219.71
08/10/2018                                                     SCHOOL TAX                                        $38,146.52                                      $(10,837.89)                                     $449,971.96                      ($21,265.72)        $325.00     $3,219.71
08/10/2018                                                     TOWNSHIP TAX                                      $38,146.52                                      $(2,005.46)                                      $449,971.96                      ($23,271.18)        $325.00     $3,219.71
09/01/2018       $3,194.19                                     PAYMENT DUE                                       $41,340.71                                                                                       $449,971.96                      ($23,271.18)        $325.00     $3,219.71
09/04/2018                                                     PRINCIPAL PAYMENT                                 $41,340.71 $3,219.71                                                        $(3,219.71)          $446,752.25                      ($23,271.18)        $325.00         $0.00
09/24/2018                                    $171.75          FCL FILING FEE                                    $41,340.71                                                                                       $446,752.25                      ($23,271.18)        $496.75         $0.00
09/24/2018                                    $125.00          FCL FILING FEE                                    $41,340.71                                                                                       $446,752.25                      ($23,271.18)        $621.75         $0.00
09/28/2018                                    $560.00          FC ATTY FEE                                       $41,340.71                                                                                       $446,752.25                      ($23,271.18)      $1,181.75         $0.00
10/01/2018       $3,194.19                                     PAYMENT DUE                                       $44,534.90                                                                                       $446,752.25                      ($23,271.18)      $1,181.75         $0.00
10/01/2018                                    $13.67           FCL FILING FEE                                    $44,534.90                                                                                       $446,752.25                      ($23,271.18)      $1,195.42         $0.00
10/02/2018                                    $560.00          FC ATTY FEE                                       $44,534.90                                                                                       $446,752.25                      ($23,271.18)      $1,755.42         $0.00
11/01/2018       $3,257.49                                     PAYMENT DUE                                       $47,792.39                                                                                       $446,752.25                      ($23,271.18)      $1,755.42         $0.00
11/06/2018                                    $35.00           FC MISC                                           $47,792.39                                                                                       $446,752.25                      ($23,271.18)      $1,790.42         $0.00
11/06/2018                                    $41.50           FCL FILING FEE                                    $47,792.39                                                                                       $446,752.25                      ($23,271.18)      $1,831.92         $0.00
11/15/2018                                    $560.00          FC ATTY FEE                                       $47,792.39                                                                                       $446,752.25                      ($23,271.18)      $2,391.92         $0.00
11/16/2018                                                     HOMEOWNERS INSURANCE                              $47,792.39                                      $(2,432.81)                                      $446,752.25                      ($25,703.99)      $2,391.92         $0.00
11/20/2018                                    $85.00           FCL SERVICE                                       $47,792.39                                                                                       $446,752.25                      ($25,703.99)      $2,476.92         $0.00
11/20/2018                                    $5.22            FCL MAIL                                          $47,792.39                                                                                       $446,752.25                      ($25,703.99)      $2,482.14         $0.00
11/20/2018                                    $1.20            FCL MAIL                                          $47,792.39                                                                                       $446,752.25                      ($25,703.99)      $2,483.34         $0.00
11/20/2018                                    $5.22            FCL MAIL                                          $47,792.39                                                                                       $446,752.25                      ($25,703.99)      $2,488.56         $0.00
11/20/2018                                    $5.22            FCL MAIL                                          $47,792.39                                                                                       $446,752.25                      ($25,703.99)      $2,493.78         $0.00
12/01/2018       $3,257.49                                     PAYMENT DUE                                       $51,049.88                                                                                       $446,752.25                      ($25,703.99)      $2,493.78         $0.00
12/06/2018                                    $250.00          FC ATTY FEE                                       $51,049.88                                                                                       $446,752.25                      ($25,703.99)      $2,743.78         $0.00
12/06/2018                                    $5.36            FCL MAIL                                          $51,049.88                                                                                       $446,752.25                      ($25,703.99)      $2,749.14         $0.00
12/06/2018                                    $85.00           FCL SERVICE                                       $51,049.88                                                                                       $446,752.25                      ($25,703.99)      $2,834.14         $0.00
12/19/2018                                    $250.00          FC ATTY FEE                                       $51,049.88                                                                                       $446,752.25                      ($25,703.99)      $3,084.14         $0.00
12/28/2018                                    $75.00           FCL FILING FEE                                    $51,049.88                                                                                       $446,752.25                      ($25,703.99)      $3,159.14         $0.00
01/01/2019       $3,257.49                                     PAYMENT DUE                                       $54,307.37                                                                                       $446,752.25                      ($25,703.99)      $3,159.14         $0.00
01/04/2019                                    $100.00          FC ATTY FEE                                       $54,307.37                                                                                       $446,752.25                      ($25,703.99)      $3,259.14         $0.00
01/08/2019                                    $3.68            FCL MAIL                                          $54,307.37                                                                                       $446,752.25                      ($25,703.99)      $3,262.82         $0.00
01/23/2019                                    $0.94            FCL MAIL                                          $54,307.37                                                                                       $446,752.25                      ($25,703.99)      $3,263.76         $0.00
01/24/2019                                    $250.00          FC ATTY FEE                                       $54,307.37                                                                                       $446,752.25                      ($25,703.99)      $3,513.76         $0.00
01/24/2019                                    $2.80            FCL MAIL                                          $54,307.37                                                                                       $446,752.25                      ($25,703.99)      $3,516.56         $0.00
01/27/2019                                    $85.00           FCL SERVICE                                       $54,307.37                                                                                       $446,752.25                      ($25,703.99)      $3,601.56         $0.00
02/01/2019       $3,257.49                                     PAYMENT DUE                                       $57,564.86                                                                                       $446,752.25                      ($25,703.99)      $3,601.56         $0.00
02/12/2019                                    $250.00          FC ATTY FEE                                       $57,564.86                                                                                       $446,752.25                      ($25,703.99)      $3,851.56         $0.00
03/01/2019       $3,257.49                                     PAYMENT DUE                                       $60,822.35                                                                                       $446,752.25                      ($25,703.99)      $3,851.56         $0.00
03/07/2019                                                     COUNTY TAX                                        $60,822.35                                      $(2,947.18)                                      $446,752.25                      ($28,651.17)      $3,851.56         $0.00
03/26/2019                                    $400.00          LITIGATION                                        $60,822.35                                                                                       $446,752.25                      ($28,651.17)      $4,251.56         $0.00
03/27/2019                                    $100.00          FC ATTY FEE                                       $60,822.35                                                                                       $446,752.25                      ($28,651.17)      $4,351.56         $0.00
04/01/2019       $3,257.49                                     PAYMENT DUE                                       $64,079.84                                                                                       $446,752.25                      ($28,651.17)      $4,351.56         $0.00
04/01/2019                                    $250.00          FC ATTY FEE                                       $64,079.84                                                                                       $446,752.25                      ($28,651.17)      $4,601.56         $0.00
04/01/2019                                    $2.35            FCL MAIL                                          $64,079.84                                                                                       $446,752.25                      ($28,651.17)      $4,603.91         $0.00
04/02/2019                                    $2.35            FCL MAIL                                          $64,079.84                                                                                       $446,752.25                      ($28,651.17)      $4,606.26         $0.00
04/04/2019                                    $0.50            FCL MAIL                                          $64,079.84                                                                                       $446,752.25                      ($28,651.17)      $4,606.76         $0.00
04/05/2019                                    $0.50            FCL MAIL                                          $64,079.84                                                                                       $446,752.25                      ($28,651.17)      $4,607.26         $0.00
04/23/2019                                    $250.00          FC ATTY FEE                                       $64,079.84                                                                                       $446,752.25                      ($28,651.17)      $4,857.26         $0.00
05/01/2019       $3,257.49                                     PAYMENT DUE                                       $67,337.33                                                                                       $446,752.25                      ($28,651.17)      $4,857.26         $0.00
06/01/2019       $3,257.49                                     PAYMENT DUE                                       $70,594.82                                                                                       $446,752.25                      ($28,651.17)      $4,857.26         $0.00
06/12/2019                                    $2.80            SALES & USE TAX                                   $70,594.82                                                                                       $446,752.25                      ($28,651.17)      $4,860.06         $0.00
06/12/2019                                    $4.20            SALES & USE TAX                                   $70,594.82                                                                                       $446,752.25                      ($28,651.17)      $4,864.26         $0.00



Official Form 410A                                                                                                              Mortgage Proof of Claim Attachment




                                                                                                                                                                                              Reviewer ID: Lashina_Johnson_2019-10-21_10:15:41
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Part 5 : Loan Payment History from First Date of Default
                                                Account Activity                                                   How Funds Were Applied/Amount Incurred                                     Balance After Amount
                                                                                                                                                                                                            BalanceReceived or Incurred
                                                                                                                                                                                                                    After Amount Received or Incurred
A.               B.             C.              D.               E.               F.              G.               H.              I.                 J.          K.          L.               M.                N.                 O.                P.           Q.
Date             Contractual    Funds           Amount Incurred Description       Contractual Due Prin, int & esc  Amount to       Amount to         Amount to   Amount       Unapplied funds Principal balance Accrued interest Escrow balance Fees / Charges     Unapplied
                 Payment        Received                                          Date            past due balance principal       interest          escrow      to fees or                                      balance                              balance      funds
                 Amount                                                                                                                                          charges                                                                                           balance

06/12/2019                                    $40.00           LOCK CHANGE                              $70,594.82                                                                                 $446,752.25                      ($28,651.17)       $4,904.26         $0.00
06/12/2019                                    $60.00           LOCK CHANGE                              $70,594.82                                                                                 $446,752.25                      ($28,651.17)       $4,964.26         $0.00
06/26/2019                                    $8.05            SALES & USE TAX                          $70,594.82                                                                                 $446,752.25                      ($28,651.17)       $4,972.31         $0.00
06/26/2019                                    $115.00          YARD MAINTENANCE                         $70,594.82                                                                                 $446,752.25                      ($28,651.17)       $5,087.31         $0.00
07/01/2019       $3,257.49                                     PAYMENT DUE                              $73,852.31                                                                                 $446,752.25                      ($28,651.17)       $5,087.31         $0.00
07/10/2019                                    $7.70            SALES & USE TAX                          $73,852.31                                                                                 $446,752.25                      ($28,651.17)       $5,095.01         $0.00
07/10/2019                                    $110.00          YARD MAINTENANCE                         $73,852.31                                                                                 $446,752.25                      ($28,651.17)       $5,205.01         $0.00
07/25/2019                                    $7.70            SALES & USE TAX                          $73,852.31                                                                                 $446,752.25                      ($28,651.17)       $5,212.71         $0.00
07/25/2019                                    $110.00          YARD MAINTENANCE                         $73,852.31                                                                                 $446,752.25                      ($28,651.17)       $5,322.71         $0.00
08/01/2019       $3,257.49                                     PAYMENT DUE                              $77,109.80                                                                                 $446,752.25                      ($28,651.17)       $5,322.71         $0.00
08/03/2019                                                     BK FILED DATE                            $77,109.80                                                                                 $446,752.25                      ($28,651.17)       $5,322.71         $0.00




Official Form 410A                                                                                                   Mortgage Proof of Claim Attachment




                                                                                                                                                                              Reviewer ID: Lashina_Johnson_2019-10-21_10:15:41
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                          Phelan Hallinan Diamond & Jones, LLP
                   1617 JFK Boulevard, Suite 1400, One Penn Center Plaza
                                  Philadelphia, PA 19103

                        UNITED STATES BANKRUPTCY COURT
                      WESTERN District of Pennsylvania (PITTSBURGH)
                           Bankruptcy Petition #: 19-23079 JAD

In Re:
    ANGELA M. SIMONE A/K/A ANGELA MAMMARELLI SIMONE D/B/A VICTOR
    VICTORIA HAIR. ETC. (Debtor)

    Jerome Blank, Esq., Id. No.49736 certifies that a true and correct copy of the attached Proof
    of Claim was served via first class mail upon the following person(s):

    JEFFREY J. SIKIRICA
    121 NORTHBROOK DRIVE
    PINE TOWNSHIP
    GIBSONIA, PA 15044
    SikiricaLaw@zoominternet.net
    (Attorney for Debtor)

    RONDA J. WINNECOUR
    SUITE 3250, USX TOWER
    600 GRANT STREET
    PITTSBURGH, PA 15219
    cmecf@chapter13trusteewdpa.com
    (Chapter 13 Trustee)

    OFFICE OF THE UNITED STATES TRUSTEE
    LIBERTY CENTER
    1001 LIBERTY AVENUE, SUITE 970
    PITTSBURGH, PA 15222
    Ustp.region03@usdoj.gov
    (US Trustee)

    ANGELA M. SIMONE
    5467 CURRY ROAD
    PITTSBURGH, PA 15236

    (Debtor)

    Date   6/4/2020                                /s/ Jerome Blank, Esquire
                                                   Jerome Blank, Esq., Id. No.49736
                                                   Phelan Hallinan Diamond & Jones, LLP
                                                   1617 JFK Boulevard, Suite 1400
Case 19-23079-JAD  Doc 89 Filed
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                                          One Penn Center Plaza
                                          Philadelphia, PA 19103
                                          Phone Number: 215-563-7000 Ext 31625
                                          Fax Number: 215-568-7616
                                          Email: jerome.blank@phelanhallinan.com
            Case 19-23079-JAD   Doc 89 Claim
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Servicer Loan #               9813                            Interest Rate                3.0000%
Borrower Name                 Angela M Simone                 1st Principal Balance   $ 446,752.25
BK Case Number                19-23079-JAD                    Escrow Balance          $ (28,651.17)
                                                              Suspense Balance        $        -

Transaction Description        Transaction      Transaction   Ins Premium Disb Due      Escrow           Escrow             Escrow
                                  Code              Date               Date             Amount        Disbursement          Balance
Disb. for SCHOOL TAX               311           08/10/2018         08/10/2018                           $(10,837.89)   $   (21,265.72)
Disb. for TOWNSHIP TAX             316           08/10/2018         08/10/2018                            $(2,005.46)   $   (23,271.18)
Disb. for HOMEOWNERS INSURANCE     351           11/16/2018         11/16/2018                            $(2,432.81)   $   (25,703.99)
Disb. for COUNTY TAX               312           03/07/2019         03/07/2019                            $(2,947.18)   $   (28,651.17)
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  .!99%.*#)#8%+*:#2*#&-#'!*#)'#)**%$5*#*!#.!99%.*0#)--%--#!"#"%.!1%"#)99#!"#5)"*#!(
  *6%#8%+*#("!$#3!,:#2(#)#+)'4",5*.3#*",-*%%#&-#$)4&'7#3!,"#5)3$%'*-#(!"#3!,0         =&.">12",'$*.                        @AB;9<%A;              @AB<<C%A9
                                                                                      ?'&0*.
  59%)-%#7&1%#)#.!53#!(#*6&-#-*)*%$%'*#*!#*6%#*",-*%%:

  <!,"#%-."!/#-6!"*)7%#)$!,'*#8!%-#'!*#&'.9,8%#)'3#).*,)9#-6!"*)7%#*6)*
  $&76*#6)1%#+%%'#&'.9,8%8#+%(!"%#3!,#(&9%8#(!"#+)'4",5*.3:

   ;:!!&$/
   E&0-1$# -&41"     &0*.17#1F">"* $G%

   <!,#6)1%#%Z).*93#*6%#)$!,'*#!(#$!'%3#&'#3!,"#%-."!/#)..!,'*#'%%8%8#*!#5)3#3!,"#%-*&$)*%8#5"!5%"*3#*)Z%-#)'8Y!"#&'-,")'.%#(!"#'%Z*#3%)":#[%%5#*6&-
   -*)*%$%'*#(!"#3!,"#"%.!"8-:#<!,#8!#'!*#'%%8#*!#8!#)'3*6&'7#%9-%:

   <!," $!'*693#5)3$%'*#/&99#+%#VR0QQI:RW#-*)"*&'7#WXYW>Y>X:




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    !"!#$%#&'()*+',-$+).'/$$)*#0
    !"#"$%""&'$()$*"$"%)+,!$-)%".$/%$.)+#$"'0#)1$200)+%($()$32.$.)+#$3#)3"#(.$(24"'$2%&5)#$/%'+#2%0"6 $ )$&)$(!2(7$8"&"#29$921$299)1'$+'$()$#":+/#"$(!2(
  .)+$;""3$2$-/%/-+-$*292%0"$/%$.)+#$200)+%(6$ !/'$02'!$#"'"#<"$!"93'$()$0)<"#$2%.$/%0#"2'"$/%$(24"'$2%&5)#$/%'+#2%0"6$$=)1"<"#7$(!"$-/%/-+-$*292%0"
  #":+/#"-"%($!2'$*""%$12/<"&$8)#$.)+#$200)+%(6
   !"$32.-"%('$-2&"$()$2%&$8#)-$.)+#$"'0#)1$200)+%($92'($."2#$!"93$3#"&/0($.)+#$200)+%($20(/</(.$8)#$%"4($."2#6$$ !/'$."2#>'$20(/</(.$29')$!"93'$3#"&/0(
  1!2($.)+#$9)1"'($200)+%($*292%0"$/'$9/;"9.$()$*"6
    )$*292%0"$.)+#$"'0#)1$200)+%(7$1"$0)-32#"$1!2($.)+#$9)1"'($200)+%($*292%0"$1/99$9/;"9.$*"$%"4($."2#$1/(!$.)+#$-/%/-+-$#":+/#"&$*292%0"6$?8$(!"#"
  /'$%)$&/88"#"%0"$*"(1""%$(!"$%+-*"#'7$.)+#$"'0#)1$200)+%($/'$*292%0"&6


  CD6DD                     E)+#$-/%/-+-$#":+/#"&$*292%0"
  CFB7GHI6AJ                E)+#$"'(/-2("&$9)1"'($200)+%($*292%0"$8)#$ADAD
   !"!!                     #$%&'()*&$+',**$%-.'/)'0,1,-*(2
    !!"#$!"%&'#()*#!+"&',-./"0,,.12#"0,#(3(#4%",$*-#"(2"#$('"'#*#!)!2#5"

  ,-$+).'/$$)*#0'1%-0)+2
    !"$0!2#($*"9)1$0)-32#"'$(!/'$."2#K'$20(/</(.$)%$.)+#$"'0#)1$200)+%($1/(!$)+#$"'(/-2("'6$ !"$"'(/-2("&$2-)+%('$02-"$8#)-$.)+#$92'($"'0#)1$200)+%(
  #"</"16$
       E)+#$-)'($#"0"%($-)#(,2,"$32.-"%($&+"$12'$CJ7IDA6JI6$E)+#$-)#(,2,"$32.-"%($/%09+&"'$3#/%0/329$2%&$/%("#"'($CI7BAG6BI$2%&$"'0#)1$-)%".
       CI7HLJ6LD6
       M($(!"$(/-"$)8$.)+#$92'($"'0#)1$200)+%($#"</"17$.)+#$"43"0("&$9)1"'($*292%0"$12'$CD6DD6$ !"$0!2#($*"9)1$'!)1'$(!2($.)+#$20(+29$9)1"'($"'0#)1
       *292%0"$12' CFAG7BNI6IL6$
  O)("P$0!2%,"'$/%$3#)3"#(.$(24"'$)#$/%'+#2%0"$3#"-/+-'$0#"2("$(!"$&/88"#"%0"$*"(1""%$(!"$"'(/-2("&$2%&$20(+29$2-)+%('$/%$(!"$0!2#(6$M%$QRS$/%$(!"$0!2#(
  *"9)1$-"2%'$"43"0("&$20(/</(.$(!2($!2'%K($)00+##"&$."(6
  672+(,*#!'"*"+(88!-!2,!"9!#/!!2"#$!"!'#()*#!+"*2+"*,#1*:"*).12#'5


  34%-'(5!+6'7)859:5+';<=>'0)'/*&*-0';<=?
                                                                             7)./8,.(2             4*.%,1                 7)./8,.(2                4*.%,1
    3,.(           4*./5/.6                                                    48$%-.             48$%-.             7)*&$+'9,1,-*(        7)*&$+'9,1,-*(
                   T(2#(/%,$U292%0"                                                                                         CJ7DAJ6GN           CFAJ7ALI6IG
  $$II5ADIG        V"3)'/(                                                    CI7NII6[H              CD6DD   \
                   W/(!&#2129$F$=XYRXWORZ$?O                                                     CA7HJA6GI   \              CH7NJN6L[           CFAN7LDJ6[[
  $$IA5ADIG        V"3)'/(                                                    CI7NII6[H              CD6DD   \
                   W/(!&#2129$F$=XYRXWORZ$?O                                  CA7JNA6LA              CD6DD   \              CJ7B[N6DI           CFAN7LDJ6[[
  $$DI5ADI[        V"3)'/(                                                    CI7NII6[H              CD6DD   \              CN7ADB6[N           CFAN7LDJ6[[

  $$DA5ADI[        V"3)'/(                                                    CI7NII6[H              CD6DD \                CB7LIG6G[           CFAN7LDJ6[[

  $$DJ5ADI[        V"3)'/(                                                    CI7NII6[H              CD6DD \
                   W/(!&#2129$F$]X^O E$ M_                                    CA7[HL6IG          CA7[HL6IG                  CN7AGJ6BN           CFAG7BNI6IL
  $$DH5ADI[        V"3)'/(                                                    CI7NII6[H              CD6DD \                CB7L[N6N[           CFAG7BNI6IL

  $$DN5ADI[        V"3)'/(                                                    CI7NII6[H              CD6DD \                CG7JDL6NJ           CFAG7BNI6IL

  $$DB5ADI[        V"3)'/(                                                    CI7NII6[H              CD6DD \                C[7GI[6HL           CFAG7BNI6IL

  $$DL5ADI[        V"3)'/(                                                    CI7NII6[H              CD6DD \               CII7JJI6HI           CFAG7BNI6IL

  $$DG5ADI[        V"3)'/(                                                    CI7NII6[H        CJG7DAJ6IB R
                   W/(!&#2129$F$T]=XX`$ M_                                   CID7GJL6G[        CII7INJ6JG R                 CA7DDN6HB            CFI7LGI6J[
  $$DG5ADI[        W/(!&#2129$F$ XWOT=?@$ M_                                  CA7DDN6HB         CA7BAB6[L R                     CD6DD            CFH7HDG6JB

  $$DG5ADI[        W/(!&#2129$F$=XYRXWORZ$?O                                                     CA7HJA6GI R                     CD6DD           CFB7GHI6IL

                                                                           !"#$%#&'()




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                       !"#$%&'($)*+(*+",*&--.$/(0+$1-&*2




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Due Annually
Insurance           $2,432.81
County Tax          $2,947.18
School Tax          $11,153.38
Township Tax        $2,626.97
TOTAL               $19,160.34           / 12 months =          $1,596.69


Filing Date                  8/3/2019

MONTH               ESC INCOMING         ESC OUTGOING           BALANCE
Starting Balance                                                      $16,213.22
August                           $0.00           $11,153.38            $5,059.84
August                           $0.00            $2,626.97            $2,432.87
August                           $0.00            $2,432.81                $0.06
September                    $1,596.69                $0.00            $1,596.75
October                      $1,596.69                $0.00            $3,193.44
November                     $1,596.69                $0.00            $4,790.13
December                     $1,596.69                $0.00            $6,386.82
January                      $1,596.69                $0.00            $7,983.51
February                     $1,596.69                $0.00            $9,580.20
March                        $1,596.69            $2,947.18            $8,229.71
April                        $1,596.69                $0.00            $9,826.40
May                          $1,596.69            $2,432.81            $8,990.28
June                         $1,596.69                $0.00           $10,586.97
July                         $1,596.69                $0.00           $12,183.66
August                       $1,596.69           $11,153.38            $2,626.97
August                           $0.00            $2,626.97                $0.00 LP




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